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                      UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF CONNECTICUT



     - - - - - - - - - - - - - - - - - x
                                       :
     DANIEL GREER,                     : No. 3:20CV350(JAM)
                                       :
                       Plaintiff       :
                                       :
                v.                     :
                                       :
     CONNECTICUT DEPARTMENT OF         :
     CORRECTION; CHESHIRE CORRECTIONAL :
     INSTITUTION; and ROLLIN COOK,     :
     Commissioner for the Department   :
     of Correction in the State of     :
     Connecticut,                      :
                                       : New Haven, Connecticut
                       Defendants      : March 31, 2020
                                       :
     - - - - - - - - - - - - - - - - - x




                      TELEPHONIC STATUS CONFERENCE



     B E F O R E:


             THE HONORABLE JEFFREY ALKER MEYER, U.S.D.J.




                                          Diana Huntington, RDR, CRR
                                          Official Court Reporter
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     A P P E A R A N C E S:


          FOR THE PLAINTIFF:

                 MORRISON & FOERSTER LLP
                      250 West 55th Street
                      New York, New York 10019
                 BY: STEVEN T. RAPPOPORT, ESQ.
                      JOEL C. HAIMS, ESQ.

          FOR THE DEFENDANTS:

                 OFFICE OF THE ATTORNEY GENERAL
                      55 Elm Street
                      Hartford, Connecticut 06106-1774
                 BY: STEVEN R. STROM, ESQ.
                      EDWARD DAVID ROWLEY, ESQ.
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1                                9:30 A.M.

2               THE COURT:    Good morning everybody.       This is

3    Judge Jeffrey Meyer.     We're here for a teleconference in

4    Greer v. Connecticut Department of Correction.

5               May I have appearance of counsel for plaintiff.

6               MR. RAPPOPORT:     Your Honor, this is Steve

7    Rappoport from Morrison Foerster for plaintiff Daniel

8    Greer.

9               MR. HAIMS:    Joel Haims from Morrison Foerster.

10              THE COURT:    Is Mr. Einhorn on the line?

11              MR. EINHORN:     Yes, your Honor.     Good morning.

12   Jon Einhorn, I'm local counsel for this matter.

13              THE COURT:    Great, great.

14              And for DOC?

15              MR. STROM:    Good morning, Your Honor.          Steven

16   Strom from the Attorney General's Office for the

17   defendants.

18              MR. ROWLEY:    Good morning, Your Honor.         Ed

19   Rowley from the Attorney General's Office on behalf of the

20   defendants as well.

21              THE COURT:    All right.     Good morning.

22              And we have our court reporter, I believe.                Are

23   you there, Diana?

24              THE REPORTER:     Yes, Judge, I'm here.

25              THE COURT:    I understand that you all have
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1    figured out a resolution at least to the PI in the case.

2    Do you want to put that on the record at this point?

3               And I wanted to ask you in terms of how you

4    would wish to proceed.      Do you feel that you want to write

5    up something that you make of the docket record in this

6    case, or do you want to simply not have essentially

7    written terms of your resolution posted to the docket but

8    simply a withdrawal of the pending PI motion?          I assume,

9    or I think, perhaps, I don't know, if there will be

10   continuing litigation in the case in any manner.            Tell me

11   what you're thinking about.

12              MR. RAPPOPORT:     Your Honor, this is Steve

13   Rappoport for plaintiff.

14              I think our preference would be to have

15   something written on the docket.       On the other hand, we

16   don't want to slow the process down.        We have an agreement

17   that will provide Rabbi Greer with kosher Passover meals

18   and we don't want that to be waylaid while we work out the

19   language that we would agree to for some kind of order on

20   the docket.    So I guess, from our perspective, we would

21   like the Court to -- the terms in Mr. Strom's email lay

22   out fairly what the State is agreeing to do and what we've

23   agreed with.    And so we would at least want that to have

24   force and affect after this call even if we also want to

25   have a written order on the docket, I guess, is our
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1    perspective.

2               THE COURT:    I see.

3               So would it make sense, then, just to -- I think

4    that Mr. Strom's email was sent to chambers.         We could

5    take terms of that email and attach it as an exhibit to a

6    court order denying as moot the motion for preliminary

7    injunction in light of the parties' settlement concerning

8    the preliminary injunction.       Does that make sense?

9               MR. RAPPOPORT:     I think that's fine --

10              MR. STROM:    Your Honor --

11              MR. RAPPOPORT:     Go ahead, Mr. Strom.

12              MR. STROM:    For the record, the court reporter

13   asked us to identify themselves.       This is Steve Strom for

14   the defendants, Your Honor.

15              Thank you very much for convening this

16   conference this morning.      In fact, the extra time,

17   Your Honor, helped us sort of button this down.             So we

18   appreciate Your Honor's patience with us.         So we thank you

19   for this opportunity.

20              The parties worked hard, including pretty much

21   all day Sunday, Your Honor, in teleconferences in the

22   spirit of your order to try to see whatever we could do to

23   avoid having to have an in-person or either tele- or video

24   conference.    So we did reach an agreement.

25              I have no objection to Your Honor's suggestion.
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1    As I indicated in my email, whether it's withdrawn or

2    denied without prejudice, denied as moot, any resolution

3    of that is acceptable to the defendants.         And I have no

4    objection to either attaching the email or just orally

5    today into the record, so we have this transcript.          And I

6    agree with Attorney Rappoport in not delaying things.

7               The terms are agreed, they're in the email, we

8    can represent them on the record today that Mr. Greer will

9    be getting the prepackaged Kosher for Passover meals.           The

10   items that are listed in the email are going to be

11   provided to Mr. Greer.      It's my understanding that

12   plaintiff's counsel has made arrangements to have those

13   shipped expeditiously to the Department of Correction.           In

14   the email is Director Williams, who is Director of

15   Religions Services, who is personally going to take charge

16   of the items once they arrive.       And we have arrangements

17   made at Cheshire to put in place -- as I understood, we

18   had a conversation with Rabbi Katz over the weekend.

19   These are microwavable items that DOC is purchasing, and

20   will have in place by the end of the week a brand new

21   microwave oven for these purposes.

22              We're pleased to be able to report that we

23   reached this agreement, Your Honor.

24              THE COURT:    Okay.    Well, then it sounds like

25   what we'll do then is we'll enter orders denying as moot
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1    the existing motions for preliminary injunction, I think

2    the motion for hearing as well, in light of the parties'

3    settlement as reflected in the exchange of emails from

4    Mr. Rappoport on March 30 at 8:27 p.m., that's the email

5    to chambers that forwarded the email from Mr. Strom of

6    2:43 p.m. on Monday.     And if that's acceptable, we'll just

7    do that and make that an attachment to the exhibit and

8    save you all from having to redraft and file a document,

9    if that makes sense.

10               MR. RAPPOPORT:    Acceptable to plaintiff,

11   Your Honor.

12               MR. STROM:   This is Steve Strom for the court

13   reporter.

14               It is acceptable for the defendants as well.

15               THE COURT:   Sure.

16               And then will there be more litigation in this

17   case, do you anticipate?

18               MR. RAPPOPORT:    I don't know, Steve, if you want

19   to go first.    I think what we discussed yesterday was that

20   we're going to have this order, they're going to provide

21   the food, and then after the holiday we're going to have a

22   discussion about resolving the matter.        I don't know what

23   you want to add further to that, Steve.

24               MR. STROM:   This is Steve Strom for the

25   defendants.
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1               That's what the emails reflect.        I had a

2    preliminary discussion with Attorney Einhorn.          It would be

3    our hope, Your Honor, that this can all be resolved in a

4    fashion that will not take up much of the Court's time

5    going forward other than hopefully a report under Rule 16

6    that the matter has been resolved.        So we're keeping our

7    fingers crossed we can work well together.         My colleagues

8    from New York to Connecticut, we try to do things in a

9    courteous and civil manner and try to work these things

10   out, so we think that we can reach an agreement,

11   Your Honor.

12              THE COURT:    Good.    I will keep the case open,

13   then.   And we'll just act with respect to the two pending

14   motions, and we'll post that to the docket very shortly.

15   If there's any concern about the docket posting, feel free

16   to be back to chambers about that.

17              Is there anything else?

18              MR. RAPPOPORT:     Not for plaintiff, Your Honor.

19              MR. STROM:    For the defendants, Your Honor, just

20   so it's clear on the record -- and this is in an abundance

21   of caution -- the defendants and the Office of the

22   Attorney General, as well as other matters Your Honor may

23   be familiar with with the State, is quite concerned about

24   court-ordered settlements that incorporate into the orders

25   of the Court the settlement.       We wanted it to be clear on
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1    the record that this is a, quote/unquote, private

2    settlement agreement between the parties and is not a sort

3    of imprimatur of Court approval incorporating into any

4    orders of the Court the agreements.        It's our hope that,

5    obviously, we could reach some agreements and that the

6    matter could be resolved, as suggested in my email, with a

7    Rule 41 stipulated dismissal.       So we hope to be able to

8    work cooperatively together to get this all done without

9    further involvement by Your Honor.

10               THE COURT:   Okay.    So I don't intend to enter an

11   order really approving your own resolution at this point

12   in the sense that I do think it's a private agreement

13   between the parties here.      I'm just going to be entering

14   an order denying the pending motions as moot in light of

15   the parties' report of resolution, but I will not be

16   entering a consent judgment or otherwise dismissing the

17   case.   And then I'll leave it to you all to figure out on

18   what terms you would settle and/or seek dismissal of the

19   case, okay?

20               MR. STROM:   That's acceptable to the defendants.

21   Thank you, Your Honor.      This is Steve Strom for the court

22   reporter.

23               MR. RAPPOPORT:    This is Steve Rappoport for

24   plaintiff.    That's acceptable to us for purposes of this

25   resolution, but obviously we'll have to, as part of our
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 1   discussions in terms of resolution of the case, discuss

 2   whether or not that will work for us for the resolution of

 3   the case.    But for now, for purposes of this motion, we're

 4   fine with that.

 5               THE COURT:    Great.   I understand that.

 6               And I congratulate the parties on working so

 7   hard to resolve this case.       This obviously is a very

 8   difficult time for everybody concerned in the court system

 9   as well as the DOC and all people within the DOC system.

10   So the fact that you all were able to resolve this matter

11   without the need for what would have been pretty

12   complicated litigation this week is really to your credit.

13   I congratulate you on that.

14               All right.    If there's nothing else, thank you

15   for calling in.     And we'll enter orders on the docket

16   shortly.

17               MR. RAPPOPORT:    Thank you, Your Honor.

18               MR. STROM:    Thank you, Your Honor.

19                     (Proceedings adjourned at 9:41 a.m.)

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 2                         C E R T I F I C A T E

 3

 4   RE: DANIEL GREER v. CONNECTICUT DEPARTMENT OF CORRECTION,
                     ET AL., No. 3:20CV350(JAM)
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 6               I, Diana Huntington, RDR, CRR, Official Court

 7   Reporter for the United States District Court for the

 8   District of Connecticut, do hereby certify that the

 9   foregoing pages 1 through 10 are a true and accurate

10   transcription of my shorthand notes taken in the

11   aforementioned matter to the best of my skill and ability.

12

13

14

15

16                                    /s/

17                      DIANA HUNTINGTON, RDR, CRR
                         Official Court Reporter
18                     United States District Court
                       141 Church Street, Room 147
19                     New Haven, Connecticut 06510
                              (860) 463-3180
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